 Case 3:21-cv-03006-B-BH Document 26 Filed 03/04/22             Page 1 of 2 PageID 261



                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION
                     _____________________________________


UDUAK NELSON UDOH,
Plaintiff,

v.
                                                Civil Action No. 3:21-CV-03006-B
MERRICK GARLAND, Attorney General
of the United States, et al.,

Defendants.

                         JOINT STIPULATION OF DISMISSAL

       Under Federal Rule of Civil Procedure 41(a)(1)(A)(ii), all parties that have

appeared stipulate to dismiss this case. Each party will bear their own costs and fees.

Dated: March 4, 2022

Respectfully submitted,

Attorney for Plaintiff                             Attorneys for Defendants

/s/ Anthonia N. Imudia                             CHAD E. MEACHAM
ANTHONIA N. IMUDIA                                 UNITED STATES ATTORNEY
Lead Attorney
FL State Bar No. 1018592                           /s/ George M. Padis
Bar ID: FL0087                                     George M. Padis
toni@cfuis.com                                     Assistant United States Attorney
Center for U.S. Immigration Services               Texas Bar No. 24088173
201 E. Kennedy Blvd., Suite 1612                   1100 Commerce Street, Third Floor
Tampa, FL 33602                                    Dallas, Texas 75242
(813) 298-7222                                     Telephone: 214-659-8600
Fax: (813) 200-1020                                Fax:         214-695-8811
                                                   george.padis@usdoj.gov
 Case 3:21-cv-03006-B-BH Document 26 Filed 03/04/22            Page 2 of 2 PageID 262




                            CERTIFICATE OF SERVICE

      I certify that on March 4, 2022, a copy of the above was electronically filed with
the Court’s CM/ECF system and served on Plaintiff.

                                         /s/ George M. Padis
                                         George M. Padis
